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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                             Case No. 24-mj-8157-BER


                                                                              SP
 UNITED STATES OF AMERICA

 vs.                                                                Apr 2, 2024
 SHUVALO ROBERTS,
              Defendant.                                                       West Palm Beach

 ______            ______/

                             CRIMINAL COVER SHEET


       1.    Did this matter originate from a matter pending in the Northern Region of
             the United States Attorney’s Office prior to August 8, 2014 (Mag. Judge
             Shaniek Maynard)? Yes           No X

       2.    Did this matter originate from a matter pending in the Central Region of
             the United States Attorney's Office prior to October 3, 2019 (Mag. Judge
             Jared Strauss)? Yes          No X


                                        Respectfully submitted,

                                        MARKENZY LAPOINTE
                                        UNITED
                                        UNI ED STATES ATTORNEY
                                         NIT          A TORNE
                                                      AT

                                 BY:    _____________________________
                                        ________________________
                                        Susan Osborne
                                        Assistant United States Attorney
                                        Court No. A5500797
                                        500 South Australian Ave, Suite 400
                                        West Palm Beach, Florida 33401
                                        TEL (561) 209-1003
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AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                  Southern District
                                                __________ Districtof
                                                                    ofFlorida
                                                                      __________

                  United States of America                       )
                             v.                                  )
                                                                 )      Case No. 24-mj-8157-BER
                   SHUVALO ROBERTS,                              )
                                                                 )                                                              SP
                                                                 )
                           Defendant(s)                                                                          Apr 2, 2024

                                                   CRIMINAL COMPLAINT                                                               West Palm Beach



         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  March 30, 2024              in the county of             Palm Beach                              in the
     Southern          District of           Florida         , the defendant(s) violated:

            Code Section                                                   Offense Description
Title 18, United States Code,                 Possession of a Firearm by a Non-citizen
Section 922(g)(5)(B)




         This criminal complaint is based on these facts:
See Attached Affidavit.




         ✔ Continued on the attached sheet.
         u

                                                                                                         Digitally signed by DANIEL P RICHICHI
                                                                         DANIEL P RICHICHI               Date: 2024.04.02 08:26:58 -04'00'


                                                                                            Complainant’s signature

                                                                                   Daniel Richichi, Special Agent, HSI
                                                                                             Printed name and title

6ZRUQDQG$WWHVWHGWRPHE\$SSOLFDQWE\7HOHSKRQH )DFHWLPH 
                                                                                             Digitally signed by
SXUVXDQWWR)HG5&ULP3 G DQGWKLV                                              Bruce Reinhart
                                                                                             Date: 2024.04.02
Date:                                                                                        17:06:12 -04'00'
                                                                                               Judge’s signature

City and state:                      West Palm Beach, FL                         Bruce Reinhart, U.S. Magistrate Judge
                                                                                             Printed name and title
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                   AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT


        I, Daniel Richichi, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

        1.     I am employed as a Special Agent with the Department of Homeland

 Security (DHS), Homeland Security Investigations (HSI), and have been so employed

 since December 2008. During that time, I have received training through the HSI training

 program at Glynco, Georgia, and I have conducted investigations into criminal violations

 of the federal laws governing illegal smuggling of narcotics and humans into the United

 States. Before joining HSI, I was an Officer with the DHS, U.S. Customs and Border

 Protection, for approximately five and one-half years.

        2.     As a Special Agent with HSI, I have received extensive instruction in the

 investigation of the maritime smuggling of humans, bulk cash, and narcotics. During my

 tenure with HSI, I have personally and significantly participated in approximately over two-

 hundred prior smuggling-related investigations concerning violations of Title 18, United

 States Code, Section 1324(a), Title 31, United States Code, Section 5332, and Title 21,

 United States Code, Section 952 respectively.            I have personally participated in

 approximately two-hundred arrests of individuals for smuggling violations and have

 participated in the debriefings and interviews of hundreds of persons to include human

 smugglers, bulk cash smugglers, drug smugglers, and informants, who by their own

 admission have been involved in those illegal activities, concerning the methods and

 practices of maritime smugglers. On the basis of the foregoing, I have become very

 familiar with the ways, manners and means by which maritime smugglers conduct their
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 illegal activities, the smuggling routes and concealment methods used by drug and

 human smugglers, and the unique patterns employed by these illegal smuggling

 individuals and organizations. Additionally, I have been certified by U.S. Customs and

 Border Protection, Air & Marine Operations as maritime interdiction crewmember and

 have participated in the maritime interdictions of vessels on over one dozen prior

 occasions.

       3.     The statements contained in this affidavit are based upon my personal

 knowledge, as well as information provided by other law enforcement. I have not included

 in this affidavit each and every fact and circumstance known, but only the facts and

 circumstances that I believe are sufficient to establish probable cause.

                                   PROBABLE CAUSE

       4.     On March 30, 2024, at approximately 6:41 pm, the Palm Beach County

 Sheriff's Office (PBSO) observed a vessel track traveling west approximately 20 miles

 east of the Lake Worth Inlet, utilizing the Coastal Security Radar System.        PBSO

 continuously monitored the coastal radar system and the vessel maintained course

 westbound towards the Lake Worth Inlet. At approximately 7:48 pm PBSO, utilizing video

 surveillance, observed the vessel, a 25’ blue Mako cuddy-cabin vessel arrive at the docks

 at Phil Foster Park. PBSO observed separately charged defendants Reko CURRY and

 Gruz SIMMS, operating the vessel with four white males onboard.

       5.     Once at the docks the four white males exited the vessel and were picked

 up by a female driving a black Mitsubishi SUV bearing Florida license plate 63D RZI. As

 the four white males were exiting the vessel, a forward hatch on the vessel can be
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 observed being opened from inside the vessel, by someone other than CURRY or

 SIMMS.

        6.       At approximately 7:52 pm, a black Chevy Silverado pick-up truck bearing

 Florida license plate 070 2XS, with a trailer attached, which was owned and operated by

 Shuvalo ROBERTS, was observed backing down the boat ramp and SIMMS is observed

 hooking the vessel up to the trailer.

        7.       At approximately 7:54 pm, CURRY and SIMMS enter the black Silverado,

 at which point the black Mitsubishi and the black Silverado departed Phil Foster Park.

 PBSO put out a be on the lookout for the black Mitsubishi and the black Silverado with

 the boat and the trailer attached, as no units were in the area to respond.

        8.       At approximately 8:19 pm, the black Silverado with the trailer and vessel

 attached was located driving on Haverhill Rd. in West Palm Beach, Florida. A PBSO

 deputy observed that the trailer did not have a license plate attached and conducted a

 traffic stop. ROBERTS was driving the black Silverado with CURRY and SIMMS inside

 the truck. While PBSO was conducting the traffic stop the black Mitsubishi was observed

 driving past.

        9.       At approximately 8:39 pm, the black Mitsubishi was traffic stopped on

 Haverhill Rd. in West Palm Beach, which was operated by the previously mentioned

 female driver and occupied by two adult white males. It was later determined through

 interviews that the other two males observed by PBSO entering the vehicle were dropped

 off at a WaWa gas station just prior. While PBSO had the Mitsubishi stopped, one of the

 subjects stated that his family was on the boat, at which point HSI agents and PBSO
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 searched the vessel and located two adult females and four children in the cabin of the

 vessel.

        10.   A search of the black Silverado owned and operated by ROBERTS revealed

 a Smith and Wesson M&P Shield .40 caliber handgun (SN: HYL8448). The handgun had

 a magazine in the handgun’s magazine well with six rounds of .40 caliber Speer

 ammunition but did not have a round chambered.

        11.   A search of the vessel revealed a black bag in the center console which

 contained 2.117 kilograms of cocaine. Additionally, the vessel’s mounted GPS was

 energized and displayed a track line from Grand Bahama Island to Lake Worth Inlet.

        12.   On March 31, 2024, agents conducted a recorded post Miranda interview

 of ROBERTS. ROBERTS stated that on March 30, 2024, at approximately 7:00 pm he

 went to Phil Foster Park to pick up CURRY and SIMMS who were out fishing. ROBERTS

 stated that he didn’t know that there were aliens on the boat, and that he was not getting

 paid to pick up CURRY and SIMMS. ROBERTS was questioned about the firearm

 located in the center console of his black Silverado. ROBERTS stated that the firearm

 belonged to a friend of his, but he did not know it was in the vehicle. ROBERTS stated

 that his friend purchased the firearm approximately 2-3 years ago from Gator Guns in

 West Palm Beach, Florida. ROBERTS stated he was with his friend at the time the firearm

 was purchased. ROBERTS stated that he has gone to the gun range on numerous

 occasions with his friend to shoot the firearm and last did so approximately two months

 ago.

        13.   ROBERTS is a Bahamian national who is currently in the United States

 under a nonimmigrant visa, namely, a visitor (B-1/B-2) visa. As such, he is not permitted
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 to possess a firearm under Title 18, United States Code, Section 922(g)(5)(B). Smith &

 Wesson is a gun manufacturer headquartered outside the state of Florida. Accordingly, I

 believe that the gun and ammunition are likely not manufactured in Florida, and therefore,

 the weapon necessarily traveled in and affected interstate commerce.

        14.    WHEREFORE, on the basis of the foregoing facts and evidence, your

 affiant respectfully submits that probable cause exists to believe that probable cause

 exists to charge Shuvalo ROBERTS with a violation of federal law, to wit, Possession of

 a Firearm by a Non-citizen, in or affecting commerce, in violation of Title 18 United States

 Code, Section 922(g)(5)(B).

        FURTHER YOUR AFFIANT SAYETH NAUGHT.

                                                  Respectfully submitted,


                                                   DANIEL P RICHICHI Digitally signed by DANIEL P RICHICHI
                                                                     Date: 2024.04.02 08:27:54 -04'00'


                                                  Daniel Richichi
                                                  Special Agent
                                                  Homeland Security Investigations


 Sworn and Attested to me by Applicant by Telephone (FaceTime) per Fed.R.Crim.P.
 4(d) and 4.1, this ______ day of April 2024, at West Palm Beach, Florida.
                      Digitally signed by Bruce
                      Reinhart
                      Date: 2024.04.02 17:05:30
                      -04'00'
 _____________________________________
 BRUCE REINHART
 UNITED STATES MAGISTRATE JUDGE
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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA


                                   PENALTY SHEET

 Defendant's Name: SHUVALO ROBERTS

 Case No: 24-mj-8157-BER

 Count #: 1

 Possession of a firearm by a non-citizen

 Title 18, United States Code, Section 922(g)(5)(B)

 * Max. Term of Imprisonment: 10 years
 * Mandatory Min. Term of Imprisonment (if applicable): n/a
 * Max. Supervised Release: 3 years
 * Max. Fine: $250,000 fine, and a $100 special assessment
